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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 GLOBAL TEL*LINK CORPORATION
 D/B/A/ VIAPATH TECHNOLOGIES

                  Plaintiff,

                  v.                            Civil Action No. 23-cv-00500-MN

 JACS SOLUTIONS, INC.,                          JURY TRIAL DEMANDED

                  Defendant.




                               FIRST AMENDED COMPLAINT

       Plaintiff Global Tel*Link Corporation d/b/a ViaPath Technologies (“ViaPath” or

“Plaintiff”) files this First Amended Complaint against Defendant JACS Solutions, Inc. (“JACS”

or “Defendant”) and alleges as follows:

                                    NATURE OF ACTION

       1.      This is a civil action arising out of Defendant’s patent infringement in violation of

the Patent Laws of the United States, 35 U.S.C. §§ 271 and 281-285.

                                          THE PARTIES

       2.      ViaPath is a corporation organized and existing under the laws of the State of

Idaho with a principal place of business at 3120 Fairview Park Drive, Suite 300, Falls Church,

Virginia 22042.

       3.      On information and belief, Defendant is a corporation organized and existing

under the laws of the State of Delaware with a principal place of business at 809 Pinnacle Drive,

Suite R, Linthicum Heights, Maryland 21090.
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                                 JURISDICTION AND VENUE

       4.       This Court has subject-matter jurisdiction over ViaPath’s patent-infringement

claims pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       5.       This Court has personal jurisdiction over Defendant because of Defendant’s

continuous contacts within this jurisdiction and its incorporation in the State of Delaware.

       6.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1400(b) at least

because Defendant is incorporated in and resides in the State of Delaware.

                                         BACKGROUND

       7.       For over 30 years, ViaPath has been a leading developer of innovative and

impactful technologies in correctional facilities such as prisons, jails, and other detention centers.

Wireless tablets are one of ViaPath’s most important innovations. ViaPath now has numerous

patents, including the Patents-In-Suit, protecting these innovative wireless tablets. See

Exhibits 5-9.

       8.       To deliver these next-generation wireless tablets to incarcerated individuals,

ViaPath worked with Defendant, an upstart manufacturer of tablets with no prior experience in

the design, development, or manufacturing of wireless tablets for use in correctional facilities.

ViaPath agreed to share its industry knowledge and patented technology with Defendant, but

only after Defendant agreed to certain exclusivity and confidentiality provisions set forth in a

2014 mutual nondisclosure agreement (the “NDA”) and a 2018 Manufacturing and Services

Agreement (the “M&S Agreement”). See Exhibit 29. Unfortunately, Defendant (i) failed to live

up to its promises under those agreements and (ii) has been infringing ViaPath’s patents by

providing wireless tablets and supporting software to ViaPath’s competitors. ViaPath brought a

first suit in a different forum to address, among other things, Defendant’s breach of the M&S

Agreement. See Global Tel*Link Corp. d/b/a ViaPath Techs. v. JACS Solutions Inc., 1:23-cv-

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00179-TSE-WEF (E.D.V.A.). ViaPath now brings this suit here to protect its intellectual

property and promote fair and reasonable marketplace competition.

       A.      For almost three decades, ViaPath has been a leading developer of innovative
               and impactful technologies deployed in correctional facilities.

       9.      Founded in the 1980s, Global Tel*Link Corporation (“GTL”) d/b/a ViaPath

Technologies (“ViaPath”) is an industry leader that develops and deploys information

technology solutions in correctional facilities. Throughout its history, GTL has developed

inventive solutions that improve conditions in correctional facilities and ease the burdens faced

by managing authorities. GTL’s patented techniques have been integrated into a comprehensive

suite of products and services. In 2022, GTL began doing business as ViaPath to better reflect its

mission and vision of supporting incarcerated individuals and their families and formerly

incarcerated individuals reentering society.

       10.     ViaPath’s products ensure incarcerated individuals have access to technology and

education while incarcerated. For example, ViaPath’s wireless tablets—the technology at issue

here—support educational training, entertainment packages, video visitation, phone and

messaging services, voice messaging, financial services, and other essential services. These

specially adapted wireless tablets are fundamentally important to ensure effective, secure

delivery of these services. By providing access to key educational resources, contact with family

and friends, and connection to essential services, ViaPath’s wireless tablets promote

rehabilitation, improve personal outcomes, and reduce recidivism.

       11.     For example, ViaPath’s wireless tablets were recently featured in a news article

by ABC-7 news in the Washington, DC area. The article states:

       ViaPath’s mission is getting technology, including tablets, into the hands of inmates
       serving time for nonviolent crimes.

       ...

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        The tablets are safe and secure with no access to off-limit areas on the internet.
        They are pre-loaded with what inmates need to get a GED, vocational certifications,
        and technical apprenticeships.

Exhibit 39, 2.

        12.      ViaPath’s wireless tablets and supporting software also promote safe and efficient

operations in correctional facilities. Administrators face difficult challenges in maintaining the

safety, health, and well-being of incarcerated individuals and staff. ViaPath’s wireless tablets and

supporting software stand up to these operational rigors and meet the high standards of safety

and reliability necessary in these environments. As a result, ViaPath’s wireless tablets and

supporting software help correctional facilities run steadily, smoothly, cost-efficiently, and

securely.

        13.      ViaPath’s innovative technologies have been widely adopted in the marketplace.

ViaPath now serves roughly 2,000 correctional facilities in all 50 states. These facilities house

more than 1.8 million incarcerated individuals. ViaPath provides services, directly or indirectly,

to clients which include Federal agencies, states, cities, and counties that operate correctional or

detention facilities.

        14.      Generally for each new business opportunity, ViaPath responds to a competitive

procurement process. ViaPath has excelled against competition due to its high-quality products,

which are uniquely adapted for correctional facilities. ViaPath’s tablets serve as the platform for

providing innovative services to incarcerated individuals, and other industry players and

competitors deliver services using tablets that lack the benefit of ViaPath’s patented

technologies. Thus, the ingenuity of ViaPath’s tablets is a primary driver of ViaPath’s successful

bids.

        15.      Throughout its history as a trusted technologist, ViaPath recognized the

importance and value of its innovations. ViaPath had the foresight to invest significant capital to
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secure its intellectual property and protect its innovations, filing its first patent application in

1996. After thorough examination from the United States Patent and Trademark Office

(“USPTO”), ViaPath has built a robust and strong patent portfolio including over 300 U.S.

patents. These patents cover a variety of services in correctional facilities including voice

communications, electronic messaging, electronic tablets, video visitation, electronic content

services, security, and wireless services, to name a few. Many of ViaPath’s patents have

withstood attempts to invalidate them, including several patents challenged in inter partes review

proceedings before the Patent Trial and Appeal Board.

        B.      Defendant is an upstart manufacturer of customized smart devices with
                whom ViaPath has shared its industry knowledge and proprietary tablet
                technology.

        16.     Defendant was founded in 2011 and provides connectivity solutions to businesses

across a variety of industries, e.g., healthcare, education, transportation, and logistics. On

information and belief, before working with ViaPath, Defendant had no prior experience in the

correctional-facility space.

        17.     In November 2014, ViaPath entered into the NDA with Defendant to protect

ViaPath’s proprietary information. See Exhibit 29. With that agreement in place, ViaPath

advised Defendant in developing and enabling Wi-Fi®- and LTE-enabled tablets and using

hardware, software, and firmware in correctional facilities.

        18.     In October 2017, Defendant presented ViaPath with a proposal for a Wi-Fi®-

enabled wireless tablet—the TG801—that was developed exclusively for ViaPath based on

instructions, and confidential and proprietary information from ViaPath. Together, both parties

worked to develop additional features and improve the TG801 tablet. On information and belief,

these improvements became the subject of later tablet models such as the TR820. See Exhibit 31;

Exhibit 32.
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       C.      ViaPath and Defendant entered into the M&S Agreement, which includes a
               confidentiality clause and an exclusivity clause.

       19.     After years of development, in December 2018, the parties expanded their

relationship by entering into the M&S Agreement. This agreement specified that Defendant

would perform certain manufacturing, preloading and configuring of hardware, operation

systems and software applications, and related services. Among the products governed by the

M&S Agreement are ViaPath’s Inspire 2 (TG800), Inspire 3 (TG801), TP156V1, and TP156V2.

In connection with the M&S Agreement, Defendant sought approval from the Federal

Communications Commission (“FCC”) in 2018 for the Inspire 2 (TG800), with FCC ID number,

2AGCDJACSTG801. See Exhibit 40. The external photos of this tablet that Defendant submitted

for approval clearly included a “GTL” label. See Exhibit 41.




 Figure 1 –Defendant’s External Photo included with its 2018 FCC Approval Application
       20.     After seeking this FCC approval, Defendant contractually promised to refrain

from manufacturing similar Products for any third party providing services, directly or indirectly,



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to the corrections vertical in the geographic markets in which ViaPath is currently operating in

the United States. Defendant also agreed not to disclose ViaPath’s confidential information—

which was broadly defined to include all confidential and proprietary information that is

reasonably identifiable as the confidential or proprietary information of ViaPath—to any third

party without prior written consent. In exchange for Defendant’s promise to exclusively

manufacture the TG800, TG801, TP156V1, TP156V2, and other similar smart tablets for

ViaPath, ViaPath agreed to purchase certain minimum amounts from Defendant each year. And

every year from 2019 through 2022, ViaPath met the minimum purchase requirement, paying

Defendant over $70 million so that ViaPath would enjoy the exclusive rights to these smart

tablets.

           21.   But Defendant failed to live up to its exclusivity and confidentiality obligations as

set forth in the M&S Agreement.

           D.    Defendant knowingly infringes ViaPath’s patents by manufacturing, selling,
                 offering to sell, and distributing products and services that implement
                 ViaPath’s protected intellectual property.

           22.   At least as early as August 2021, Defendant began to take steps to provide the

TG801 to ViaPath’s competitors—despite Defendant’s contractual promise to manufacture this

wireless tablet exclusively for ViaPath. As set forth above, Defendant had already received an

FCC approval for the TG801 in August 2018 (FCC ID: 2AGCDJACSTG801). But, then, in

August 2021, Defendant sought FCC approval to rebrand the TG801 with a new FCC ID

(2AGCDJACSTR810) and explained that the rebranded model “is identical in design and

construction to the originally approved model.” Exhibit 42. In fact, the external photos that

Defendant used for its August 2021 rebranding request (Exhibit 43) were exactly the same as

those used in Defendant’s 2018 FCC approval request, including the “GTL” label:



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Figure 2 --Defendant’s External Photo included with its 2021 FCC Rebranding Application
       23.     On information and belief, Defendant’s 2021 FCC filing to rebrand the TG801 as

the TR810 with a new FCC ID demonstrates Defendant’s specific intent to sell that exact same

tablet to ViaPath’s competitors. Because the TG801 had already been approved by the FCC in

2018, Defendant could have simply continued selling the TG801 to ViaPath without seeking a

new FCC ID for the TG801 in 2021. By obtaining the new FCC ID in 2021, Defendant could sell

the rebranded version of the TG801 to third parties other than ViaPath.

       24.     And that is exactly what Defendant did. Defendant provided the TG801, the

TR810, or similar tablets to ViaPath’s competitors, such as Network Communications

International Corporation (“NCIC”)—a company that, on information and belief, sells

telecommunication systems to correctional facilities but does not manufacture or develop any

tablet hardware or software on its own. NCIC then included the TG801, the TR810, or similar

tablets in at least five different bids: (i) an August 2021 bid to Washoe County, Nevada; (ii) a

February 2022 bid to Williamson County, Texas; (iii) an August 2022 bid to the Yellowstone

County Sheriff’s Office, Montana; (iv) a September 2022 bid to the Louisville Jefferson County,

Kentucky; and (v) a November 2022 bid to the Saline County Sheriff’s. See, e.g., Exhibit 2, 14;

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Exhibit 51, 8; Exhibit 53, 23; Exhibit 54, 44. With the Inspire 3 TG801 Tablet included in its

proposal, NCIC won the Yellowstone County contract.




                      Figure 3 – Annotated Excerpt of Exhibit 2
         Showing TG801 included in NCIC’s Aug. 2022 Bid to Yellowstone County




     Figure 4 – Excerpt of NCIC’s Nov. 2022 Bid to the Saline County Sheriff’s Office
                 showing that NCIC was offering the TR810 (Exhibit 51)




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         25.     In October 2022, Defendant marketed the rebranded TR810 and other similar

tablets on its website.1 See Exhibit 27, 7.

         E.      After becoming aware that Defendant was providing the TG801 and similar
                 tablets to ViaPath’s competitors, ViaPath informed Defendant that it was
                 infringing ViaPath’s patents.

         26.     On September 22, 2022, ViaPath sent a letter (“First Notice Letter”) via FedEx to

Defendant explaining that ViaPath had recently discovered that Defendant appeared to be

violating the parties’ M&S Agreement by selling a rebranded version of the TG801 to ViaPath’s

competitors. See Exhibit 44. That letter also explained that, by providing wireless tablets—such

as the TG801—and supporting software to corrections-industry service providers, Defendant

infringed many of ViaPath’s patents, including one of the Patents-in-Suit—U.S. Patent No.

11,228,672. Id., 2. To remedy those issues and to salvage the parties’ working relationship,

ViaPath sought written confirmation that, among other things, Defendant would comply with the

exclusivity provisions in the parties’ M&S Agreement by refraining from providing wireless

tablets and supporting software—including the TG801 and similar products—to corrections-

industry service providers. Id., 2-3.

         27.     Defendant sent a responsive letter on October 3, 2022 that did nothing to allay

ViaPath’s concerns. See Exhibit 45. Rather than agreeing to comply with the exclusivity

provisions in the parties’ M&S Agreement, Defendant’s responsive letter claimed that the M&S

Agreement had expired on December 13, 2021 (id., 1)—despite the fact that, well after this so-

called expiration, Defendant had continued to accept millions of dollars’ worth of additional

purchase orders from ViaPath in 2022 as explicitly provided for in the M&S Agreement. And

conspicuously absent from Defendant’s responsive letter was any discussion of Defendant’s


1
    Defendant appears to refer to the rebranded version of the TG801 as the TR810 or the TR0810.

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infringement of ViaPath’s patents by providing the TG801 and similar products to other

corrections-industry service providers.

       28.     In an additional effort to avoid protracted litigation and reach a business

resolution, ViaPath again reached out to Defendant—this time via a November 15, 2022 letter

from ViaPath’s CEO, Deb Alderson, to Defendant’s CEO, Steel Liu. See Exhibit 46. That letter

set forth explicit steps that would “enable the parties to move forward as partners.” Id., 1. That

letter also warned, however, that if Defendant failed to comply, ViaPath would have “no other

choice but to pursue legal action, including actions based on [Defendant’s] breach of [the

parties’] contract and patent infringement.” Id., 2. Defendant never responded. As a result,

ViaPath then sued Defendant in December 2022 for breach of contract under Virginia law,

breach of an implied contract under Virginia law, actual fraud under Virginia law, constructive

fraud under Virginia law, and unjust enrichment under Virginia law. See Global Tel*Link

Corporation d/b/a ViaPath Technologies v. JACS Solutions Inc., 1:23-00179-TSE-WEF

(E.D.V.A.).

       29.     Rather than capitulate, Defendant doubled down on its wrongful activity by

increasing its marketing efforts in 2023 to sell wireless tablets to ViaPath’s competitors, as

demonstrated by at least two overt acts. First, after being informed in 2022 that sales of wireless

tablets to corrections-industry service providers infringed ViaPath’s patents, Defendant added

“Corrections” in 2023 to its website listing of the “Industries” it served, as seen in the following

side-by-side comparison:




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      Exhibit 47, Oct. 5, 2022 Snap Shot              Exhibit 48, Jan. 27, 2023 Snap Shot of
   of “Industries” on Defendant’s Website             “Industries” on Defendant’s Website
                                                                   (annotated)

Second, Defendant also began marketing on its website in 2023 how wireless tablets could be

used to reduce recidivism within the corrections industry, as illustrated by the following

screenshot:




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          Exhibit 49, Apr. 18, 2023 Snapshot of Defendant’s Website Illustrating
   a Corrections Industry “Use Case[ ]” for the Wireless Tablets that Defendant Offered
These overt acts by Defendant in 2023 to increase its marketing of wireless tablets to

corrections-industry service providers after receiving ViaPath’s September 2022 notice letter

shows Defendant’s deliberate intent to infringe and cause infringement of ViaPath’s patents.

       30.     In an April 20, 2023 letter (“Second Notice Letter”) (Exhibit 3), ViaPath again

advised Defendant that its use, manufacturing, sale, offer for sale, and/or importation of the

Inspire 2 (TG800), Inspire 3 (TG801), TP156V1, TP156V2, TR810, TR820, TT1001, TR800,

and similar products infringes numerous ViaPath patents, including but not limited to the

following patents (which includes, among others, the patents listed in ViaPath’s September 22,

2022 letter and includes the Patents-in-Suit):


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             •   U.S. Patent No. 9,030,292 – Multifunction Wireless Device
             •   U.S. Patent No. 9,307,386 – Multifunction Wireless Device
             •   U.S. Patent No. 9,614,954 – Multifunction Wireless Device
             •   U.S. Patent No. 9,667,663 – Electronic Messaging Exchange
             •   U.S. Patent No. 9,807,123 – Electronic Messaging Exchange
             •   U.S. Patent No. 10,116,707 – Electronic Messaging Exchange
             •   U.S. Patent No. 10,560,488 – Electronic Messaging Exchange
             •   U.S. Patent No. 10,638,322 – Provisioning of Tablets
             •   U.S. Patent No. 10,645,443 – Controlled Environment Media System
             •   U.S. Patent No. 10,721,624 – Multifunction Wireless Device
             •   U.S. Patent No. 10,757,249 – Multifunction Wireless Device
             •   U.S. Patent No. 11,184,342 – Multifunction Wireless Device
             •   U.S. Patent No. 11,228,672 – Security System for Inmate Wireless Devices
             •   U.S. Patent No. 11,290,499 – Electronic Messaging Exchange
             •   U.S. Patent No. 11,394,751 – Electronic Messaging Exchange

       31.       On April 27, 2023, Defendant sent a responsive letter and stated—without any

explanation or supporting evidence—that it “believes its business is consistent with the MSA and

does not infringe ViaPath’s patents.” Exhibit 52.

       32.       ViaPath now brings this lawsuit against Defendant based on the following patents.

                                     THE PATENTS-IN-SUIT

       A.        The ’443 Patent

       33.       On May 5, 2020, the USPTO lawfully issued U.S. Patent No. 10,645,443

(“the ’443 patent”) entitled “Controlled Environment Media and Communication System.”

The ’443 patent was duly assigned to GTL d/b/a ViaPath and is listed on ViaPath’s website in

accordance with the virtual patent marking provisions of 35 U.S.C. § 287(a). GTL d/b/a ViaPath

is the assignee of all right, title, and interest in and to the ’443 patent and possesses the exclusive

right of recovery for past, present, and future infringement. Each and every claim of the ’443

patent is valid and enforceable. A true and correct copy of the ’443 patent is attached hereto as

Exhibit 5.




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       34.     The inventors of the ’443 patent recognized that secure facilities “endeavor to

provide residents with an ever-growing capability for communication and entertainment.”

Exhibit 5, 2:59-61. But to deliver these capabilities, prisons faced technological challenges in

controlling access and operating cost efficiently at a scale that could accommodate a large

resident population. Id., 3:15-31.

       35.     The ’443 patent delivers an innovative, comprehensive IP-based platform that

offers “significant advantages” over legacy systems by “integrat[ing] television, local/network

video/audio content, with other IP-based services” such as video conferencing. Id., 2:61-3:1. The

unconventional technique deploys an access kiosk, which may be in the form of a tablet

computer, as an intermediary to both a media distribution server and a video visitation server.

Id., 4:66-5:19. By coordinating access to both services, traffic generated by the access kiosk may

leverage core network features. Id., 4:52-64 (“These features become even more important to the

functioning of core network 130 when multiple services utilize the network such as media

distribution, video visitation, and voice services.”). Because the access kiosk is configured to

both playback the selected media for consumption and communicate with the video visitation

server over the network to participate in video visitation sessions—both aspects can employ

optimization techniques to reduce network load and increase bandwidth efficiency. Id., 7:58-64,

8:56-60.

       36.     The USPTO recognized the specific and unconventional nature of these

technological features of the ’443 patent, issuing a Notice of Allowance on January 8, 2020. See

Exhibit 33, 26-30.

       B.      The ’123 Patent

       37.     On October 31, 2017, the USPTO lawfully issued U.S. Patent No. 9,807,123

(“the ’123 patent”) entitled “Electronic Messaging Exchange.” The ’123 patent was duly
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assigned to GTL d/b/a ViaPath and is listed on ViaPath’s website in accordance with the virtual

patent marking provisions of 35 U.S.C. § 287(a). GTL d/b/a ViaPath is the assignee of all right,

title, and interest in and to the ’123 patent and possesses the exclusive right of recovery for past,

present, and future infringement. Each and every claim of the ’123 patent is valid and

enforceable. A true and correct copy of the ’123 patent is attached hereto as Exhibit 6.

       38.     The inventors of the ’123 patent recognized deficiencies in existing electronic

messaging tools deployed in prisons. See Exhibit 6, 2:8-31. These legacy tools failed to both:

(1) monitor and archive messages while preventing incarcerated individuals from bypassing

control features; and simultaneously: (2) provide the same functionality as a normal messaging

system. Id., 2:18-22, 2:39-44.

       39.     The ’123 patent enhances such tools with a control platform that intelligently

surveys and archives messages using keyword and phrase scanning, language translation,

intended-recipient filters, suspect criteria, etc. Id., 3:64-4:5, 4:32-49. The control platform

notifies administrators of suspicious activities. Id., 10:18-21. In particular, the ’123 patent recites

a feature of converting the instant message into a format suitable for an automated security scan

and transmission of the instant message. This feature allows the control platform to store

messages in a searchable form for future analysis, regardless of the message type. Id., 10:2-22. In

a messaging tool enhanced with this technique, incarcerated individuals retain access to these

varied messaging features but cannot exploit a vulnerability to circumvent oversight. Id., 6:42-

47, 10:63-11:2.

       40.     The USPTO recognized the specific and unconventional nature of this

technological feature of the ’123 patent, issuing a Notice of Allowance on August 31, 2017. See

Exhibit 34, 24-30. The Notice of Allowability indicated that “applicant’s arguments filed on



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8/16/17 are persuasive”—the referenced arguments advanced claim amendments that added the

converting step to the independent claims. Id., 29, 44-57.

       C.      The ’292 Patent

       41.     On May 12, 2015, the USPTO lawfully issued U.S. Patent No. 9,030,292

(“the ’292 patent”) entitled “Interactive Audio/Video System and Device for Use in a Secure

Facility.” The ’292 patent was duly assigned to GTL d/b/a ViaPath and is listed on ViaPath’s

website in accordance with the virtual patent marking provisions of 35 U.S.C. § 287(a). GTL

d/b/a ViaPath is the assignee of all right, title, and interest in and to the ’292 patent and possesses

the exclusive right of recovery for past, present, and future infringement. Each and every claim

of the ’292 patent is valid and enforceable. A true and correct copy of the ’292 patent is attached

hereto as Exhibit 7.

       42.     The inventors of the ’292 patent noted that secure facilities require additional

levels of monitoring and oversight when conducting video conferencing. See Exhibit 7, 1:19-21.

The ’292 patent recognized that legacy systems lacked technical solutions to prevent

inappropriate images from being transmitted. Id., 14:53-61.

       43.     The ’292 patent improves the security of video conferencing systems with a

specific, innovative solution that periodically extracts a frame of the video. Id., 14:62-65. The

facial verification system performs a check to determine if a face is present in the frame. Id.,

14:57-59. If the detected image does not match a face image stored in a database or if no face is

detected, the technique obscures the image to prevent inappropriate images from being

transmitted—i.e., blurs the video being transmitted to the destination when the check determines

that the face is not present in the frame. Id., 14:59-61.

       44.     The USPTO recognized the specific and unconventional nature of these

technological features of the ’292 patent, issuing a Notice of Allowance on March 20, 2015. See
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Exhibit 35, 30-36. The Examiner noted that the prior art lacked “a system for providing video

services to a secure facility that periodically authenticates a user of a kiosk in the facility by

performing biometrics authentication of the video after an initial authentication, and blurs the

video being transmitted when it is determined that a face is not present in the frame.” Id., 35.

        D.      The ’672 Patent

        45.     On January 18, 2022, the USPTO lawfully issued U.S. Patent No. 11,228,672

(“the ’672 patent”) entitled “Security System for Inmate Wireless Devices.” The ’672 patent was

duly assigned to GTL d/b/a ViaPath and is listed on ViaPath’s website in accordance with the

virtual patent marking provisions of 35 U.S.C. § 287(a). GTL d/b/a ViaPath is the assignee of all

right, title, and interest in and to the ’672 patent and possesses the exclusive right of recovery for

past, present, and future infringement. Each and every claim of the ’672 patent is valid and

enforceable. A true and correct copy of the ’672 patent is attached hereto as Exhibit 8.

        46.     The inventors of the ’672 patent recognized that legacy systems failed to prevent

residents of correctional facilities from exploiting vulnerabilities and security risks in unsecured

applications on distributed communication devices. See Exhibit 8, 3:17-39. For example,

incarcerated individuals could send clandestine communications to outside locations via social

applications, access unauthorized domains, and install unsanctioned applications. Id., 3:20-25.

        47.     The ’672 patent enhances existing technologies with a specific, unconventional

solution by deploying an application barrier on a mobile device operating among multiple

security barriers. Id., 4:7-11, 6:15-22. This application barrier prevents “applications from

performing unsanctioned activit[ies]” by disabling non-secure functions (i.e., functions that

modify settings of the mobile device). Id., 6:39-43, 11:6-9, 11:16-20. The application barrier

prevents applications “from being installed or removed.” Id., 6:43-49, 11:28-49. The application

barrier also monitors social interactions conducted using the social functions. Id., 11:20-27.
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       48.     The USPTO recognized the specific and unconventional nature of these

technological features of the ’672 patent, issuing a Notice of Allowance on September 14, 2021.

See Exhibit 36, 21-28.

       E.      The ’624 Patent

       49.     On July 21, 2020, the USPTO lawfully issued U.S. Patent No. 10,721,624

(“the ’624 patent”) entitled “Security System for Inmate Wireless Devices.” The ’624 patent was

duly assigned to GTL d/b/a ViaPath and is listed on ViaPath’s website in accordance with the

virtual patent marking provisions of 35 U.S.C. § 287(a). GTL d/b/a ViaPath the assignee of all

right, title, and interest in and to the ’624 patent and possesses the exclusive right of recovery for

past, present, and future infringement. Each and every claim of the ’624 patent is valid and

enforceable. A true and correct copy of the ’624 patent is attached hereto as Exhibit 9.

       50.     The inventors of the ’624 patent recognized a deficiency in legacy technologies—

existing systems failed to protect devices from evolving methods of bypassing device security

measures. See Exhibit 9, 1:38-47. Incarcerated individuals could exploit vulnerabilities in legacy

devices intended for sanctioned communications—e.g., security risks were present in unsecured

applications (such as applications with social functions and web browsers), unsecured operating

systems, Wi-Fi® access points, and physical access to ports and other hardware. Id., 2:59-3:51.

       51.     The ’624 patent improves upon existing technologies by employing “layered”

security barriers to prevent unsanctioned use of a communication device. Id., 3:62-4:3. The

multiple security barriers construct multi-faceted protection should a previous barrier fail. Id.,

4:2-3, 4:22-26. Specifically, the layered security barriers include a hardware barrier, an

application barrier, and operating system barrier. Id., FIG. 2; 4:28-42, 6:5-10. The hardware

barrier obstructs access to at least one port of the mobile device. Id., 6:24-29. The application

barrier disables non-secure functions of applications, monitors user activity, prevents
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installation or removal of an application, and prevents the processor from executing an

unsanctioned function. Id., 6:29-39. The operating system barrier prevents at a kernel of an

operating system the alteration of device setting including a wireless access point setting. Id.,

6:40-57.

        52.     The USPTO recognized the specific and unconventional nature of these

technological features of the ’624 patent, issuing a Notice of Allowance on March 11, 2020. See

Exhibit 37, 25-31.

                                  COUNT I:
                DIRECT INFRINGEMENT OF U.S. PATENT NO. 10,645,443

        53.     ViaPath re-alleges and incorporates by reference Paragraphs 1-52 above, as if

fully set forth herein.

        54.     Claim 1 of the ’443 patent recites:

                1.      A media distribution system for distributing media and facilitating
        video visitation within a secured facility, the media distribution system being
        available to a resident of the secured facility, the media distribution system
        comprising:
                a media distribution server configured to receive media from a plurality of
        media sources, generate a catalog of the received media based on the plurality of
        media sources and metadata associated with the received media, and make the
        media available on a network via the catalog, the plurality of media sources
        including a real-time media source and an on-demand media source;
                encoding the received media;
                storing the encoded received media for later distribution;
                a video visitation server configured to conduct video visitation sessions
        between a first video visitation endpoint and a second video visitation endpoint, at
        least one of the first and second video visitation endpoints having connectivity to
        the network; and
                an access kiosk placed within a residential unit of the secured facility and
        accessible by the resident, the access kiosk configured to:
                     communicate with the video visitation server over the network to
        participate in video visitation sessions with one or more other video visitation
        endpoints; and
                     display the catalog to the resident;
                     receive a user selection from the catalog;
                     receive the encoded media from the media distribution server over the
        network based on the user selection; and
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                    playback the selected media for consumption.

Exhibit 5, 17:20-51.

       55.     Defendant has infringed and will continue to infringe at least one claim of

the ’443 patent by developing, testing, using, distributing, offering to sell, and selling customized

hardware and software that it specifically intends, directs, and encourages to be used in a system

for distributing media and facilitating video visitation within a secured facility. Defendant is

liable for direct infringement, either literally or under the doctrine of equivalents of the ’443

patent pursuant to 35 U.S.C. § 271(a).

       56.     On information and belief, the use of Defendant’s tablets—including, at least, the

Inspire 2 (TG800), Inspire 3 (TG801), Inspire 3 (TG801), TP156V1, TP156V2, TR810, TR820,

TT1001, and TR800—meets each and every feature of claim 1 of the ’443 patent. For example,

on information and belief, the use of Defendant’s Inspire 3 Tablet in NCIC’s “InTouch

Communications Suite” meets each and every feature of claim 1 of the ’443 patent, as set forth in

the attached claim chart. See Exhibit 10. It is also expected that discovery will likely reveal

additional evidentiary support that Defendant’s tablets perform the above limitations and other

limitations of the ’443 patent.

       57.     Defendant has had actual knowledge of the ’443 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’443 patent

since no later than April 20, 2023, the date on which Defendant received the Second Notice

Letter. See Exhibit 3. The Second Notice Letter alerted Defendant of the existence of ViaPath’s

patent portfolio and that Defendant infringes the ’443 patent, among others. See id. Accordingly,

Defendant has had actual knowledge or has remained willfully blind regarding both the existence

and validity of the ’443 patent and Defendant’s infringement of the ’443 patent. See GlobalTech



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Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind defendant is one

who takes deliberate actions to avoid confirming a high probability of wrongdoing.”).

        58.     Defendant could not have reasonably or subjectively believed that its actions do

not constitute infringement of the ’443 patent. Nor could Defendant reasonably or subjectively

believe that the ’443 patent is invalid. Given that knowledge and subjective belief, Defendant’s

actions are egregious and beyond typical infringement. Defendant thus willfully infringes

the ’443 patent.

        59.     By its actions, Defendant’s infringement of the ’443 patent has irreparably

harmed ViaPath. Unless Defendant’s infringing acts are enjoined by this Court, ViaPath will

continue to suffer additional irreparable injury. ViaPath has no adequate remedy at law.

        60.     By its actions, Defendant’s infringement of the ’443 patent has damaged, and

continues to damage, ViaPath in an amount yet to be determined, of at least a reasonable royalty

and/or lost profits that ViaPath would have made but for Defendant’s infringing acts.

                                 COUNT II:
               INDUCED INFRINGEMENT OF U.S. PATENT NO. 10,645,443

        61.     ViaPath re-alleges and incorporates by reference Paragraphs 1-60 above, as if

fully set forth herein.

        62.     Defendant is liable for indirect infringement by actively inducing infringement of

the ’443 patent pursuant to 35 U.S.C. § 271(b).

        63.     On information and belief, Defendant’s customers directly infringe the ’443

patent by using Defendant’s tablets, including, at least, the Inspire 2 (TG800), Inspire 3 (TG801),

Inspire 3 (TG801), TP156V1, TP156V2, TR810, TR820, TT1001, and TR800, in the manner

alleged above. See Exhibit 10. On information and belief, Defendant’s tablets are implemented

within systems offered, deployed, and maintained by Defendant’s customers, including within


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NCIC’s InTouch Communications Suite. NCIC’s InTouch Communications Suite is a system for

distributing media and facilitating video visitation within a secured facility, as recited in claim 1

of the ’443 patent. See id. Defendant’s customers therefore directly infringe the ’443 patent by

using systems that implement Defendant’s tablets.

       64.     On information and belief, Defendant specifically intends that its customers

infringe the ’443 patent, and Defendant and its customers do in fact directly infringe the ’443

patent by using the systems that implement Defendant’s tablets in the manner alleged above. See

Exhibit 10. Defendant markets its products to prison facilities as “custom-built devices” used in

correctional facilities that “must prioritize connectivity while remaining digitally and physically

secure.” See Exhibit 22, 1. Defendant markets its tablets to its correctional facility customers

knowing that use of its tablets will inevitably lead its customers to implement the tablets as part

of a system having a media distribution server, a video visitation server, and an access kiosk, as

recited in claim 1 of the ’443 patent. For example, on information and belief, Defendant’s

marketing caused NCIC to implement Defendant’s Inspire 3 Tablet in NCIC’s InTouch

Communications Suite, which includes the media distribution server, video visitation server, and

access kiosk recited in claim 1 of the ’443 patent. See Exhibit 10. On information and belief,

Defendant’s tablets as used within the correctional facility systems have no substantial non-

infringing uses. For example, Defendant’s Inspire 3 Tablet as used within NCIC’s InTouch

Communications Suite, has no substantial non-infringing uses. See id.

       65.     On information and belief, Defendant encourages customers to use its tablets

within correctional facilities in an infringing manner. See Exhibit 2, 14. For example, Defendant

actively participates in maintaining and servicing hardware and software for its tablets. See

Exhibit 24, 5-6.



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       66.     Defendant has had actual knowledge of the ’443 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’443 patent

since no later than April 20, 2023, the date on which Defendant received ViaPath’s Second

Notice Letter. See Exhibit 3. The Second Notice Letter alerted Defendant of the existence of

ViaPath’s patent portfolio and that Defendant infringes the ’443 patent, among others. See id.

Accordingly, Defendant has had actual knowledge or has remained willfully blind regarding both

the existence and validity of the ’443 patent and Defendant’s infringement of the ’443 patent. See

GlobalTech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind

defendant is one who takes deliberate actions to avoid confirming a high probability of

wrongdoing.”).

       67.     Defendant could not have reasonably or subjectively believed that its actions do

not constitute indirect infringement of the ’443 patent. Nor could Defendant reasonably or

subjectively believe that the ’443 patent is invalid. Despite that knowledge and subjective belief,

Defendant’s actions are egregious and beyond typical infringement. Defendant thus willfully

infringes the ’443 patent.

       68.     The infringing actions of Defendant have irreparably harmed ViaPath. Unless

these actions are enjoined by this Court, ViaPath will continue to suffer additional irreparable

injury. ViaPath has no adequate remedy at law.

       69.     The infringing actions of Defendant have damaged, and continue to damage,

ViaPath in an amount yet to be determined, of at least a reasonable royalty and/or lost profits that

ViaPath would have made but for Defendant’s infringing acts.




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                              COUNT III:
          CONTRIBUTORY INFRINGEMENT OF U.S. PATENT NO. 10,645,443

        70.     ViaPath re-alleges and incorporates by reference Paragraphs 1-69 above, as if

fully set forth herein.

        71.     Defendant is liable for indirect infringement by way of contributory infringement

of the ’443 patent pursuant to 35 U.S.C. § 271(c). Defendant has sold and continues to sell,

offers to sell, or imports into the United States products and services knowing that they are

especially made or adapted to operate in a way that infringes the ’443 patent and are not a staple

article or commodity of commerce suitable for substantial non-infringing use.

        72.     Defendant has had actual knowledge of the ’443 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’443 patent

since no later than April 20, 2023, the date on which Defendant received ViaPath’s Second

Notice Letter. See Exhibit 3. The Second Notice Letter alerted Defendant of the existence of

ViaPath’s patent portfolio and that Defendant infringes the ’443 patent, among others. See id.

Accordingly, Defendant has had actual knowledge or has remained willfully blind regarding both

the existence and validity of the ’443 patent and Defendant’s infringement of the ’443 patent. See

GlobalTech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind

defendant is one who takes deliberate actions to avoid confirming a high probability of

wrongdoing.”).

        73.     Defendant markets its products to customers as “custom-built devices” used in

correctional facilities that “must prioritize connectivity while remaining digitally and physically

secure.” See Exhibit 22, 1. On information and belief, Defendant’s tablets as used within the

correctional facility systems have no substantial non-infringing uses. For example, on




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information and belief, Defendant’s Inspire 3 Tablet as used within NCIC’s InTouch

Communications Suite has no substantial non-infringing uses. See Exhibit 10.

        74.     Defendant could not have reasonably or subjectively believed that its actions do

not constitute indirect infringement of the ’443 patent. Nor could Defendant reasonably or

subjectively believe that the ’443 patent is invalid. Despite that knowledge and subjective belief,

Defendant’s actions are egregious and beyond typical infringement. Defendant thus willfully

infringes the ’443 patent.

        75.     The infringing actions of Defendant have irreparably harmed ViaPath. Unless

these actions are enjoined by this Court, ViaPath will continue to suffer additional irreparable

injury. ViaPath has no adequate remedy at law.

        76.     The infringing actions of Defendant have damaged, and continue to damage,

ViaPath in an amount yet to be determined, of at least a reasonable royalty and/or lost profits that

ViaPath would have made but for Defendant’s infringing acts.

                                  COUNT IV:
                 DIRECT INFRINGEMENT OF U.S. PATENT NO. 9,807,123

        77.     ViaPath re-alleges and incorporates by reference Paragraphs 1-76 above, as if

fully set forth herein.

        78.     Claim 1 of the ’123 patent recites:

                 1.      A secure electronic message exchange system usable inside a
        secured inmate facility, the secure electronic message exchange system
        comprising:
                 a safe terminal configured to:
                     authenticate a local user,
                     allow the local user to generate an instant message, and
                     transmit the instant message via a data connection,
                     wherein the safe terminal accesses secure system software only and
        restricts the local user from accessing the internet; and
                 a control platform configured to:
                     receive the instant message from the safe terminal,


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                   convert the instant message into a format suitable for an automated
       security scan and transmission of the instant message;
                   perform the automated security scan of the instant message,
                   authenticate a remote user, and
                   based on the automated security scan, transmit the instant message to a
       device associated with the authenticated remote user or transmit a notification to
       an administrator and store the instant message in a database,
               the control platform including a central computer control platform
       configured to allow the local user and the remote user to communicate via
       electronic messages.

Exhibit 6, 13:48-14:7.

       79.     Defendant has infringed and will continue to infringe at least one claim of

the ’123 patent by developing, testing, using, distributing, offering to sell, and selling customized

hardware and software that it specifically intends, directs, and encourages to be used in an

electronic message exchange system. Defendant is liable for direct infringement, either literally

or under the doctrine of equivalents of the ’123 patent pursuant to 35 U.S.C. § 271(a).

       80.     On information and belief, the use of Defendant’s tablets—including at, least, the

Inspire 2 (TG800), Inspire 3 (TG801), Inspire 3 (TG801), TP156V1, TP156V2, TR810, TR820,

TT1001, and TR800—in its customers’ systems meets each and every feature of claim 1 of the

’123 patent. For example, on information and belief, the use of Defendant’s Inspire 3 Tablet in

NCIC’s “InTouch Communications Suite” meets each and every feature of claim 1 of the ’123

patent, as set forth in the attached claim chart. See Exhibit 11. It is also expected that discovery

will likely reveal additional evidentiary support that Defendant’s tablets perform the above

limitations and other limitations of the ’123 patent.

       81.     Defendant has had actual knowledge of the ’123 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’123 patent

since no later than April 20, 2023, the date on which Defendant received the Second Notice

Letter. See Exhibit 3. The Second Notice Letter alerted Defendant of the existence of ViaPath’s

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patent portfolio and that Defendant infringes the ’123 patent, among others. See id. Accordingly,

Defendant has had actual knowledge or has remained willfully blind regarding both the existence

and validity of the ’123 patent and Defendant’s infringement of the ’123 patent. See GlobalTech

Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind defendant is one

who takes deliberate actions to avoid confirming a high probability of wrongdoing.”).

        82.     Defendant could not have reasonably or subjectively believed that its actions do

not constitute infringement of the ’123 patent. Nor could Defendant reasonably or subjectively

believe that the ’123 patent is invalid. Given that knowledge and subjective belief, Defendant’s

actions are egregious and beyond typical infringement. Defendant thus willfully infringes

the ’123 patent.

        83.     By its actions, Defendant’s infringement of the ’123 patent has irreparably

harmed ViaPath. Unless Defendant’s infringing acts are enjoined by this Court, ViaPath will

continue to suffer additional irreparable injury. ViaPath has no adequate remedy at law.

        84.     By its actions, Defendant’s infringement of the ’123 patent has damaged, and

continues to damage, ViaPath in an amount yet to be determined, of at least a reasonable royalty

and/or lost profits that ViaPath would have made but for Defendant’s infringing acts.

                                 COUNT V:
                INDUCED INFRINGEMENT OF U.S. PATENT NO. 9,807,123

        85.     ViaPath re-alleges and incorporates by reference Paragraphs 1-84 above, as if

fully set forth herein.

        86.     Defendant is liable for indirect infringement by actively inducing infringement of

the ’123 patent pursuant to 35 U.S.C. § 271(b).

        87.     On information and belief, JACS’ customers directly infringe the ’123 patent by

using Defendant’s tablets, including, at least, the Inspire 2 (TG800), Inspire 3 (TG801), Inspire 3


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(TG801), TP156V1, TP156V2, TR810, TR820, TT1001, and TR800, in the manner alleged

above. See Exhibit 11. On information and belief, Defendant’s tablets are implemented within

systems offered, deployed, and maintained by Defendant’s customers, including within NCIC’s

InTouch Communications Suite. NCIC’s InTouch Communications Suite, including Defendant’s

Inspire 3 Tablet, is an electronic message exchange system, as recited in claim 1 of the ’123

patent. See id. Defendant’s customers therefore directly infringe the ’123 patent by using systems

that implement Defendant’s tablets.

       88.     On information and belief, Defendant specifically intends that its customers

infringe the ’123 patent, and Defendant and its customers do in fact directly infringe the ’123

patent by using the systems that implement Defendant’s tablets in the manner alleged above. See

Exhibit 11. Defendant markets its products to prison facilities as “custom-built devices” used in

correctional facilities that “must prioritize connectivity while remaining digitally and physically

secure.” See Exhibit 22, 1. Defendant markets its tablets to its correctional facility customers

knowing that use of its tablets will inevitably lead its customers to implement the tablets as part

of a secure message exchange system, having a control platform and a secure platform, as recited

in claim 1 of the ’123 patent. For example, on information and belief, Defendant’s marketing

caused NCIC to implement Defendant’s Inspire 3 Tablet in NCIC’s InTouch Communications

Suite, which includes the control platform, secure platform, and wireless terminal recited in

claim 1 of the ’123 patent. See Exhibit 11. On information and belief, Defendant’s tablets as used

within the correctional facility systems have no substantial non-infringing uses. For example,

Defendant’s Inspire 3 Tablet as used within NCIC’s InTouch Communications Suite, has no

substantial non-infringing uses. See id.




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       89.     On information and belief, Defendant encourages customers to use its tablets

within correctional facilities in an infringing manner. See Exhibit 2, 14. For example, Defendant

actively participates in maintaining and servicing hardware and software for its tablets. See

Exhibit 24, 5-6.

       90.     Defendant has had actual knowledge of the ’123 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’123 patent

since no later than April 20, 2023, the date on which Defendant received ViaPath’s Second

Notice Letter. See Exhibit 3. The Second Notice Letter alerted Defendant of the existence of

ViaPath’s patent portfolio and that Defendant infringes the ’123 patent, among others. See id.

Accordingly, Defendant has had actual knowledge or has remained willfully blind regarding both

the existence and validity of the ’123 patent and Defendant’s infringement of the ’123 patent. See

GlobalTech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind

defendant is one who takes deliberate actions to avoid confirming a high probability of

wrongdoing.”).

       91.     Defendant could not have reasonably or subjectively believed that its actions do

not constitute indirect infringement of the ’123 patent. Nor could Defendant reasonably or

subjectively believe that the ’123 patent is invalid. Despite that knowledge and subjective belief,

Defendant’s actions are egregious and beyond typical infringement. Defendant thus willfully

infringes the ’123 patent.

       92.     The infringing actions of Defendant have irreparably harmed ViaPath. Unless

these actions are enjoined by this Court, ViaPath will continue to suffer additional irreparable

injury. ViaPath has no adequate remedy at law.




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        93.     The infringing actions of Defendant have damaged, and continue to damage,

ViaPath in an amount yet to be determined, of at least a reasonable royalty and/or lost profits that

ViaPath would have made but for Defendant’s infringing acts.

                               COUNT VI:
           CONTRIBUTORY INFRINGEMENT OF U.S. PATENT NO. 9,807,123

        94.     ViaPath re-alleges and incorporates by reference Paragraphs 1-93 above, as if

fully set forth herein.

        95.     Defendant is liable for indirect infringement by way of contributory infringement

of the ’123 patent pursuant to 35 U.S.C. § 271(c). Defendant has sold and continues to sell,

offers to sell, or imports into the United States products and services knowing that they are

especially made or adapted to operate in a way that infringes the ’123 patent and are not a staple

article or commodity of commerce suitable for substantial non-infringing use.

        96.     Defendant has had actual knowledge of the ’123 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’123 patent

since no later than April 20, 2023, the date on which Defendant received ViaPath’s Second

Notice Letter. See Exhibit 3. The Second Notice Letter alerted Defendant of the existence of

ViaPath’s patent portfolio and that Defendant infringes the ’123 patent, among others. See id.

Accordingly, Defendant has had actual knowledge or has remained willfully blind regarding both

the existence and validity of the ’123 patent and Defendant’s infringement of the ’123 patent. See

GlobalTech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind

defendant is one who takes deliberate actions to avoid confirming a high probability of

wrongdoing.”).

        97.     Defendant markets its products to customers as “custom-built devices” used in

correctional facilities that “must prioritize connectivity while remaining digitally and physically


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secure.” See Exhibit 22, 1. On information and belief, Defendant’s tablets as used within the

correctional facility systems have no substantial non-infringing uses. For example, on

information and belief, Defendant’s Inspire 3 Tablet as used within NCIC’s InTouch

Communications Suite has no substantial non-infringing uses. See Exhibit 11.

        98.     Defendant could not have reasonably or subjectively believed that its actions do

not constitute indirect infringement of the ’123 patent. Nor could Defendant reasonably or

subjectively believe that the ’123 patent is invalid. Despite that knowledge and subjective belief,

Defendant’s actions are egregious and beyond typical infringement. Defendant thus willfully

infringes the ’123 patent.

        99.     The infringing actions of Defendant have irreparably harmed ViaPath. Unless

these actions are enjoined by this Court, ViaPath will continue to suffer additional irreparable

injury. ViaPath has no adequate remedy at law.

        100.    The infringing actions of Defendant have damaged, and continue to damage,

ViaPath in an amount yet to be determined, of at least a reasonable royalty and/or lost profits that

ViaPath would have made but for Defendant’s infringing acts.

                                 COUNT VII:
                 DIRECT INFRINGEMENT OF U.S. PATENT NO. 9,030,292

        101.    ViaPath re-alleges and incorporates by reference Paragraphs 1-100 above, as if

fully set forth herein.

        102.    Claim 1 of the ’292 patent is directed to a system that includes a kiosk, which the

’292 patent explicitly says may be a tablet computer device. Exhibit 7, 8:47-50. Claim 1 recites:

               1.      A system for providing services to a secure facility, the system
        comprising:
               a kiosk located at a secure facility, the kiosk comprising a processor,
        display, speaker, microphone, and a camera; and



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               a server that communicates with the kiosk via a network connection, the
       server comprising a server processor, a network interface unit, and a computer
       memory;
               the kiosk being configured to receive communications from the camera
       and microphone and transmit audio and video of the communications to the server
       via the network connection;
               wherein the server records the audio and video and transmits the audio and
       video to a destination;
               wherein the kiosk is configured to authenticate the identity of a user of the
       kiosk by verifying log in information entered by the user and also performing a
       biometric verification;
               wherein, after the user identity has been authenticated by the kiosk and
       during the transmission of the video, the server is configured to periodically
       extract a frame of the video and perform a check to determine if a face is present
       in the frame, and the server is further configured to blur the video being
       transmitted to the destination when the check determines that the face is not
       present in the frame; and
               wherein the destination is a device communicating with the server, and the
       server is configured to authenticate a user of the device.

Exhibit 7, 18:50-19:11.

       103.    Defendant has infringed and will continue to infringe at least one claim of

the ’292 patent by developing, testing, using, distributing, offering to sell, and selling customized

hardware and software that it specifically intends, directs, and encourages to be used in a system

for providing video visitation services to a secure facility. Defendant is liable for direct

infringement, either literally or under the doctrine of equivalents of the ’292 patent pursuant to

35 U.S.C. § 271(a).

       104.    On information and belief, the use of Defendant’s tablets—including, at least, the

Inspire 2 (TG800), Inspire 3 (TG801), Inspire 3 (TG801), TP156V1, TP156V2, TR810, TR820,

TT1001, and TR800—in its customers’ systems meets each and every feature of claim 1 of the

’292 patent. For example, on information and belief, the use of Defendant’s Inspire 3 Tablet in

NCIC’s “InTouch Communications Suite” meets each and every feature of claim 1 of the ’292

patent, as set forth in the attached claim chart. See Exhibit 12. It is also expected that discovery



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will likely reveal additional evidentiary support that Defendant’s tablets perform the above

limitations and other limitations of the ’292 patent.

       105.    Defendant has had actual knowledge of the ’292 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’292 patent

since no later than April 20, 2023, the date on which Defendant received the Second Notice

Letter. See Exhibit 3. The Second Notice Letter alerted Defendant of the existence of ViaPath’s

patent portfolio and that Defendant infringes the ’292 patent, among others. See id. Accordingly,

Defendant has had actual knowledge or has remained willfully blind regarding both the existence

and validity of the ’292 patent and Defendant’s infringement of the ’292 patent. See GlobalTech

Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind defendant is one

who takes deliberate actions to avoid confirming a high probability of wrongdoing.”).

       106.    Defendant could not have reasonably or subjectively believed that its actions do

not constitute infringement of the ’292 patent. Nor could Defendant reasonably or subjectively

believe that the ’292 patent is invalid. Given that knowledge and subjective belief, Defendant’s

actions are egregious and beyond typical infringement. Defendant thus willfully infringes

the ’292 patent.

       107.    By its actions, Defendant’s infringement of the ’292 patent has irreparably

harmed ViaPath. Unless Defendant’s infringing acts are enjoined by this Court, ViaPath will

continue to suffer additional irreparable injury. ViaPath has no adequate remedy at law.

       108.    By its actions, Defendant’s infringement of the ’292 patent has damaged, and

continues to damage, ViaPath in an amount yet to be determined, of at least a reasonable royalty

and/or lost profits that ViaPath would have made but for Defendant’s infringing acts.




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                                 COUNT VIII:
                INDUCED INFRINGEMENT OF U.S. PATENT NO. 9,030,292

        109.    ViaPath re-alleges and incorporates by reference Paragraphs 1-108 above, as if

fully set forth herein.

        110.    Defendant is liable for indirect infringement by actively inducing infringement of

the ’292 patent pursuant to 35 U.S.C. § 271(b).

        111.    On information and belief, Defendant’s customers directly infringe the ’292

patent by using Defendant’s tablets, including, at least, the Inspire 2 (TG800), Inspire 3 (TG801),

Inspire 3 (TG801), TP156V1, TP156V2, TR810, TR820, TT1001, and TR800, in the manner

alleged above. See Exhibit 12. On information and belief, Defendant’s tablets are implemented

within systems offered, deployed, and maintained by Defendant’s customers, including within

NCIC’s InTouch Communications Suite. NCIC’s InTouch Communications Suite is a system for

providing video visitation services to a secure facility, as recited in claim 1 of the ’292 patent.

See id. Defendant’s customers therefore directly infringe the ’292 patent by using systems that

implement Defendant’s tablets.

        112.    On information and belief, Defendant specifically intends that its customers

infringe the ’292 patent, and Defendant and its customers do in fact directly infringe the ’292

patent by using the systems that implement Defendant’s tablets in the manner alleged above. See

Exhibit 12. Defendant markets its products to prison facilities as “custom-built devices” used in

correctional facilities that “must prioritize connectivity while remaining digitally and physically

secure.” See Exhibit 22, 1. Defendant markets its tablets to its correctional facility customers

knowing that use of its tablets will inevitably lead its customers to implement the tablets as part

of a system having a kiosk, as recited in claim 1 of the ’292 patent. For example, on information

and belief, Defendant’s marketing caused NCIC to implement Defendant’s Inspire 3 Tablet in


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NCIC’s InTouch Communications Suite, which includes the kiosk recited in claim 1 of the ’292

patent. See Exhibit 12. On information and belief, Defendant’s tablets as used within the

correctional facility systems have no substantial non-infringing uses. For example, Defendant’s

Inspire 3 Tablet as used within NCIC’s InTouch Communications Suite, has no substantial non-

infringing uses. See id.

       113.    On information and belief, Defendant encourages customers to use its tablets

within correctional facilities in an infringing manner. See Exhibit 2, 14. For example, Defendant

actively participates in maintaining and servicing hardware and software for its tablets. See

Exhibit 24, 5-6.

       114.    Defendant has had actual knowledge of the ’292 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’292 patent

since no later than April 20, 2023, the date on which Defendant received ViaPath’s Second

Notice Letter. See Exhibit 3. The Second Notice Letter alerted Defendant of the existence of

ViaPath’s patent portfolio and that Defendant infringes the ’292 patent, among others. See id.

Accordingly, Defendant has had actual knowledge or has remained willfully blind regarding both

the existence and validity of the ’292 patent and Defendant’s infringement of the ’292 patent. See

GlobalTech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind

defendant is one who takes deliberate actions to avoid confirming a high probability of

wrongdoing.”).

       115.    Defendant could not have reasonably or subjectively believed that its actions do

not constitute indirect infringement of the ’292 patent. Nor could Defendant reasonably or

subjectively believe that the ’292 patent is invalid. Despite that knowledge and subjective belief,




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Defendant’s actions are egregious and beyond typical infringement. Defendant thus willfully

infringes the ’292 patent.

        116.    The infringing actions of Defendant have irreparably harmed ViaPath. Unless

these actions are enjoined by this Court, ViaPath will continue to suffer additional irreparable

injury. ViaPath has no adequate remedy at law.

        117.    The infringing actions of Defendant have damaged, and continue to damage,

ViaPath in an amount yet to be determined, of at least a reasonable royalty and/or lost profits that

ViaPath would have made but for Defendant’s infringing acts.

                               COUNT IX:
           CONTRIBUTORY INFRINGEMENT OF U.S. PATENT NO. 9,030,292

        118.    ViaPath re-alleges and incorporates by reference Paragraphs 1-117 above, as if

fully set forth herein.

        119.    Defendant is liable for indirect infringement by way of contributory infringement

of the ’292 patent pursuant to 35 U.S.C. § 271(c). Defendant has sold and continues to sell,

offers to sell, or imports into the United States products and services knowing that they are

especially made or adapted to operate in a way that infringes the ’292 patent and are not a staple

article or commodity of commerce suitable for substantial non-infringing use.

        120.    Defendant has had actual knowledge of the ’292 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’292 patent

since no later than April 20, 2023, the date on which Defendant received ViaPath’s Second

Notice Letter. See Exhibit 3. The Second Notice Letter alerted Defendant of the existence of

ViaPath’s patent portfolio and that Defendant infringes the ’292 patent, among others. See id.

Accordingly, Defendant has had actual knowledge or has remained willfully blind regarding both

the existence and validity of the ’292 patent and Defendant’s infringement of the ’292 patent. See


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GlobalTech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind

defendant is one who takes deliberate actions to avoid confirming a high probability of

wrongdoing.”).

        121.    Defendant markets its products to customers as “custom-built devices” used in

correctional facilities that “must prioritize connectivity while remaining digitally and physically

secure.” See Exhibit 22, 1. On information and belief, Defendant’s tablets as used within the

correctional facility systems have no substantial non-infringing uses. For example, on

information and belief, Defendant’s Inspire 3 Tablet as used within NCIC’s InTouch

Communications Suite has no substantial non-infringing uses. See Exhibit 12.

        122.    Defendant could not have reasonably or subjectively believed that its actions do

not constitute indirect infringement of the ’292 patent. Nor could Defendant reasonably or

subjectively believe that the ’292 patent is invalid. Despite that knowledge and subjective belief,

Defendant’s actions are egregious and beyond typical infringement. Defendant thus willfully

infringes the ’292 patent.

        123.    The infringing actions of Defendant have irreparably harmed ViaPath. Unless

these actions are enjoined by this Court, ViaPath will continue to suffer additional irreparable

injury. ViaPath has no adequate remedy at law.

        124.    The infringing actions of Defendant have damaged, and continue to damage,

ViaPath in an amount yet to be determined, of at least a reasonable royalty and/or lost profits that

ViaPath would have made but for Defendant’s infringing acts.

                                 COUNT X:
                DIRECT INFRINGEMENT OF U.S. PATENT NO. 11,228,672

        125.    ViaPath re-alleges and incorporates by reference Paragraphs 1-124 above, as if

fully set forth herein.


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       126.    Claim 1 of the ’672 patent recites:

                1.     A system for preventing unsanctioned use of a mobile device
       within a controlled environment facility, comprising:
                an application barrier stored on a memory of the mobile device, the
       application barrier configured to:
                    disable non-secure functions of an application stored in the memory
       of the mobile device, the non-secure functions including functions that modify
       settings of the mobile device;
                    disable applications deemed non-useful by the controlled environment
       facility;
                    enable applications deemed useful by the controlled environment
       facility, modified such that social media functions of the enabled applications are
       disabled;
                    enable a social application having social functions and programming
       to allow for monitoring of social interactions conducted using the social
       functions; and
                    monitor the social interactions of the social application, the
       monitoring including gathering social interactions of the social application and
       reviewing the social interactions for illicit activity.

Exhibit 8, 21:50-22:2.

       127.    Defendant has infringed and will continue to infringe at least one claim of

the ’672 patent by developing, testing, using, distributing, offering to sell, and selling customized

hardware and software that it specifically intends, directs, and encourages to be used in a system

for preventing unsanctioned use of a mobile device within a controlled environment facility.

Defendant is liable for direct infringement, either literally or under the doctrine of equivalents of

the ’672 patent pursuant to 35 U.S.C. § 271(a).

       128.    On information and belief, the use of Defendant’s tablets—including, at least, the

Inspire 2 (TG800), Inspire 3 (TG801), Inspire 3 (TG801), TP156V1, TP156V2, TR810, TR820,

TT1001, and TR800—in its customers’ systems meets each and every feature of claim 1 of the

’672 patent. For example, on information and belief, the use of Defendant’s Inspire 3 Tablet in

NCIC’s “InTouch Communications Suite” meets each and every feature of claim 1 of the ’672

patent, as set forth in the attached claim chart. See Exhibit 13. It is also expected that discovery

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will likely reveal additional evidentiary support that Defendant’s tablets perform the above

limitations and other limitations of the ’672 patent.

       129.    Defendant has had actual knowledge of the ’672 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’672 patent

since no later than September 22, 2022, the date on which Defendant received the First Notice

Letter. See Exhibit 44. The First Notice Letter alerted Defendant of the existence of ViaPath’s

patent portfolio and that Defendant infringes the ’672 patent, among others. See id. Accordingly,

Defendant has had actual knowledge or has remained willfully blind regarding both the existence

and validity of the ’672 patent and Defendant’s infringement of the ’672 patent. See GlobalTech

Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind defendant is one

who takes deliberate actions to avoid confirming a high probability of wrongdoing.”).

       130.    Defendant could not have reasonably or subjectively believed that its actions do

not constitute infringement of the ’672 patent. Nor could Defendant reasonably or subjectively

believe that the ’672 patent is invalid. Given that knowledge and subjective belief, Defendant’s

actions are egregious and beyond typical infringement. Defendant thus willfully infringes

the ’672 patent.

       131.    By its actions, Defendant’s infringement of the ’672 patent has irreparably

harmed ViaPath. Unless Defendant’s infringing acts are enjoined by this Court, ViaPath will

continue to suffer additional irreparable injury. ViaPath has no adequate remedy at law.

       132.    By its actions, Defendant’s infringement of the ’672 patent has damaged, and

continues to damage, ViaPath in an amount yet to be determined, of at least a reasonable royalty

and/or lost profits that ViaPath would have made but for Defendant’s infringing acts.




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                                COUNT XI:
               INDUCED INFRINGEMENT OF U.S. PATENT NO. 11,228,672

        133.    ViaPath re-alleges and incorporates by reference Paragraphs 1-132 above, as if

fully set forth herein.

        134.    Defendant is liable for indirect infringement by actively inducing infringement of

the ’672 patent pursuant to 35 U.S.C. § 271(b).

        135.    On information and belief, Defendant’s customers directly infringe the ’672

patent by using Defendant’s tablets, including, at least, the Inspire 2 (TG800), Inspire 3 (TG801),

Inspire 3 (TG801), TP156V1, TP156V2, TR810, TR820, TT1001, and TR800, in the manner

alleged above. See Exhibit 13. On information and belief, Defendant’s tablets are implemented

within systems offered, deployed, and maintained by Defendant’s customers, including within

NCIC’s InTouch Communications Suite. NCIC’s InTouch Communications Suite is a system for

preventing unsanctioned use of a mobile device within a controlled environment facility, as

recited in claim 1 of the ’672 patent. Defendant’s customers therefore directly infringe the ’672

patent by using systems that implement Defendant’s tablets.

        136.    On information and belief, Defendant specifically intends that its customers

infringe the ’672 patent, and Defendant and its customers do in fact directly infringe the ’672

patent by using the systems that implement Defendant’s tablets in the manner alleged above. See

Exhibit 13. Defendant markets its products to prison facilities as “custom-built devices” used in

correctional facilities that “must prioritize connectivity while remaining digitally and physically

secure.” See Exhibit 22, 1. Defendant markets its tablets to its correctional facility customers

knowing that use of its tablets will inevitably lead its customers to implement the tablets as part

of a system having an application barrier, as recited in claim 1 of the ’672 patent. For example,

on information and belief, Defendant’s marketing caused NCIC to implement Defendant’s


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Inspire 3 Tablet in NCIC’s InTouch Communications Suite, which includes the application

barrier recited in claim 1 of the ’672 patent. See Exhibit 13. On information and belief,

Defendant’s tablets as used within the correctional facility systems have no substantial non-

infringing uses. For example, Defendant’s Inspire 3 Tablet as used within NCIC’s InTouch

Communications Suite, has no substantial non-infringing uses. See id.

       137.    On information and belief, Defendant encourages customers to use its tablets

within correctional facilities in an infringing manner. See Exhibit 2, 14. For example, Defendant

actively participates in maintaining and servicing hardware and software for its tablets. See

Exhibit 24, 5-6.

       138.    Defendant has had actual knowledge of the ’672 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’672 patent

since no later than September 22, 2022, the date on which Defendant received ViaPath’s First

Notice Letter. See Exhibit 44. The First Notice Letter alerted Defendant of the existence of

ViaPath’s patent portfolio and that Defendant infringes the ’672 patent, among others. See id.

Accordingly, Defendant has had actual knowledge or has remained willfully blind regarding both

the existence and validity of the ’672 patent and Defendant’s infringement of the ’672 patent. See

GlobalTech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind

defendant is one who takes deliberate actions to avoid confirming a high probability of

wrongdoing.”).

       139.    Defendant could not have reasonably or subjectively believed that its actions do

not constitute indirect infringement of the ’672 patent. Nor could Defendant reasonably or

subjectively believe that the ’672 patent is invalid. Despite that knowledge and subjective belief,




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Defendant’s actions are egregious and beyond typical infringement. Defendant thus willfully

infringes the ’672 patent.

        140.    The infringing actions of Defendant have irreparably harmed ViaPath. Unless

these actions are enjoined by this Court, ViaPath will continue to suffer additional irreparable

injury. ViaPath has no adequate remedy at law.

        141.    The infringing actions of Defendant have damaged, and continue to damage,

ViaPath in an amount yet to be determined, of at least a reasonable royalty and/or lost profits that

ViaPath would have made but for Defendant’s infringing acts.

                              COUNT XII:
          CONTRIBUTORY INFRINGEMENT OF U.S. PATENT NO. 11,228,672

        142.    ViaPath re-alleges and incorporates by reference Paragraphs 1-141 above, as if

fully set forth herein.

        143.    Defendant is liable for indirect infringement by way of contributory infringement

of the ’672 patent pursuant to 35 U.S.C. § 271(c). Defendant has sold and continues to sell,

offers to sell, or imports into the United States products and services knowing that they are

especially made or adapted to operate in a way that infringes the ’672 patent and are not a staple

article or commodity of commerce suitable for substantial non-infringing use.

        144.    Defendant has had actual knowledge of the ’672 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’672 patent

since no later than September 22, 2022, the date on which Defendant received ViaPath’s First

Notice Letter. See Exhibit 44. The First Notice Letter alerted Defendant of the existence of

ViaPath’s patent portfolio and that Defendant infringes the ’672 patent, among others. See id.

Accordingly, Defendant has had actual knowledge or has remained willfully blind regarding both

the existence and validity of the ’672 patent and Defendant’s infringement of the ’672 patent. See


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GlobalTech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind

defendant is one who takes deliberate actions to avoid confirming a high probability of

wrongdoing.”).

        145.    Defendant markets its products to customers as “custom-built devices” used in

correctional facilities that “must prioritize connectivity while remaining digitally and physically

secure.” See Exhibit 22, 1. On information and belief, Defendant’s tablets as used within the

correctional facility systems have no substantial non-infringing uses. For example, on

information and belief, Defendant’s Inspire 3 Tablet as used within NCIC’s InTouch

Communications Suite has no substantial non-infringing uses. See Exhibit 13.

        146.    Defendant could not have reasonably or subjectively believed that its actions do

not constitute indirect infringement of the ’672 patent. Nor could Defendant reasonably or

subjectively believe that the ’672 patent is invalid. Despite that knowledge and subjective belief,

Defendant’s actions are egregious and beyond typical infringement. Defendant thus willfully

infringes the ’672 patent.

        147.    The infringing actions of Defendant have irreparably harmed ViaPath. Unless

these actions are enjoined by this Court, ViaPath will continue to suffer additional irreparable

injury. ViaPath has no adequate remedy at law.

        148.    The infringing actions of Defendant have damaged, and continue to damage,

ViaPath in an amount yet to be determined, of at least a reasonable royalty and/or lost profits that

ViaPath would have made but for Defendant’s infringing acts.

                                COUNT XIII:
                DIRECT INFRINGEMENT OF U.S. PATENT NO. 10,721,624

        149.    ViaPath re-alleges and incorporates by reference Paragraphs 1-148 above, as if

fully set forth herein.


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       150.    Claim 1 of the ’624 patent recites:

               1.      A system of layered security barriers of a mobile device that
       prevents unsanctioned use of the mobile device, comprising:
               a hardware barrier that includes a front plate and a back plate, the
       hardware barrier obstructing access to at least one port of the mobile device;
               an application barrier stored on a memory of the mobile device, the
       application barrier configured to:
                    perform application modification in which non-secure functions of an
       application stored in the memory of the mobile device are disabled, the non-
       secure functions including social functions of the application;
                    monitor user activity of a social application, the monitoring including
       gathering social interactions of the social application and reviewing the social
       interactions for illicit activity;
                    prevent installation or removal of an application;
                    detect an attempt to perform an unsanctioned function of the
       application stored in the memory of the mobile device;
                    prevent a processor of the mobile device from executing operations
       related to the attempt to perform the unsanctioned function; and
               an operating system (OS) barrier stored in the memory of the mobile
       device, the OS barrier configured to:
                    detect an attempt to access device settings of the mobile device by a
       user of the mobile device; and
                    prevent, at a kernel of an operating system operating on the mobile
       device, the processor of the mobile device from executing operations that attempt
       to access or alter the device settings of the mobile device;
                    wherein the unsanctioned function includes exchanging data with an
       unsanctioned source outside of a controlled environment facility; and
                    wherein the device settings of the mobile device include a wireless
       access point setting.

Exhibit 9, 21:39-22:7.

       151.    Defendant has infringed and will continue to infringe at least one claim of

the ’624 patent by developing, testing, using, distributing, offering to sell, and selling customized

hardware and software that it specifically intends, directs, and encourages to be used in a system

of layered security barriers that prevents unsanctioned use of a mobile device. Defendant is liable

for direct infringement, either literally or under the doctrine of equivalents, of the ’624 patent

pursuant to 35 U.S.C. § 271(a).




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       152.    On information and belief, the use of Defendant’s tablets—including, at least, the

Inspire 2 (TG800), Inspire 3 (TG801), Inspire 3 (TG801), TP156V1, TP156V2, TR810, TR820,

TT1001, and TR800—in its customers’ systems meets each and every feature of claim 1 of the

’624 patent. For example, on information and belief, the use of Defendant’s Inspire 3 Tablet in

NCIC’s “InTouch Communications Suite” meets each and every feature of claim 1 of the ’624

patent, as set forth in the attached claim chart. See Exhibit 14. It is also expected that discovery

will likely reveal additional evidentiary support that Defendant’s tablets perform the above

limitations and other limitations of the ’624 patent.

       153.    Defendant has had actual knowledge of the ’624 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’624 patent

since no later than April 20, 2023, the date on which Defendant received the Second Notice

Letter. See Exhibit 3. The Second Notice Letter alerted Defendant of the existence of ViaPath’s

patent portfolio and that Defendant infringes the ’624 patent, among others. See id. Accordingly,

Defendant has had actual knowledge or has remained willfully blind regarding both the existence

and validity of the ’624 patent and Defendant’s infringement of the ’624 patent. See GlobalTech

Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind defendant is one

who takes deliberate actions to avoid confirming a high probability of wrongdoing.”).

       154.    Defendant could not have reasonably or subjectively believed that its actions do

not constitute infringement of the ’624 patent. Nor could Defendant reasonably or subjectively

believe that the ’624 patent is invalid. Given that knowledge and subjective belief, Defendant’s

actions are egregious and beyond typical infringement. Defendant thus willfully infringes the

’624 patent.




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        155.    By its actions, Defendant’s infringement of the ’624 patent has irreparably

harmed ViaPath. Unless Defendant’s infringing acts are enjoined by this Court, ViaPath will

continue to suffer additional irreparable injury. ViaPath has no adequate remedy at law.

        156.    By its actions, Defendant’s infringement of the ’624 patent has damaged, and

continues to damage, ViaPath in an amount yet to be determined, of at least a reasonable royalty

and/or lost profits that ViaPath would have made but for Defendant’s infringing acts.

                                COUNT XIV:
               INDUCED INFRINGEMENT OF U.S. PATENT NO. 10,721,624

        157.    ViaPath re-alleges and incorporates by reference Paragraphs 1-156 above, as if

fully set forth herein.

        158.    Defendant is liable for indirect infringement by actively inducing infringement of

the ’624 patent pursuant to 35 U.S.C. § 271(b).

        159.    On information and belief, Defendant’s customers directly infringe the ’624

patent by using Defendant’s tablets, including, at least, the Inspire 2 (TG800), Inspire 3 (TG801),

Inspire 3 (TG801), TP156V1, TP156V2, TR810, TR820, TT1001, and TR800, in the manner

alleged above. See Exhibit 14. On information and belief, Defendant’s tablets are implemented

within systems offered, deployed, and maintained by Defendant’s customers, including within

NCIC’s InTouch Communications Suite. NCIC’s InTouch Communications Suite is a system of

layered security barriers of a mobile device that prevents unsanctioned use of the mobile device,

as recited in claim 1 of the ’624 patent. See id. Defendant’s customers therefore directly infringe

the ’624 patent by using systems that implement Defendant’s tablets.

        160.    On information and belief, Defendant specifically intends that its customers

infringe the ’624 patent, and Defendant and its customers do in fact directly infringe the ’624

patent by using the systems that implement Defendant’s tablets in the manner alleged above. See


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Exhibit 14. Defendant markets its products to prison facilities as “custom-built devices” used in

correctional facilities that “must prioritize connectivity while remaining digitally and physically

secure.” See Exhibit 22, 1. Defendant markets its tablets to its correctional facility customers

knowing that use of its tablets will inevitably lead its customers to implement the tablets as part

of a system having a hardware barrier, an application barrier, and an operating system barrier, as

recited in claim 1 of the ’624 patent. For example, on information and belief, Defendant’s

marketing caused NCIC to implement Defendant’s Inspire 3 Tablet in NCIC’s InTouch

Communications Suite, which includes the hardware barrier, an application barrier, and an

operating system barrier, as recited in claim 1 of the ’624 patent. See Exhibit 14. On information

and belief, Defendant’s tablets as used within the correctional facility systems have no

substantial non-infringing uses. For example, Defendant’s Inspire 3 Tablet as used within

NCIC’s InTouch Communications Suite, has no substantial non-infringing uses.

       161.    On information and belief, Defendant encourages customers to use its tablets

within correctional facilities in an infringing manner. See Exhibit 2, 14. For example, Defendant

actively participates in maintaining and servicing hardware and software for its tablets. See

Exhibit 24, 5-6.

       162.    Defendant has had actual knowledge of the ’624 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’624 patent

since no later than April 20, 2023, the date on which Defendant received ViaPath’s Second

Notice Letter. See Exhibit 3. The Second Notice Letter alerted Defendant of the existence of

ViaPath’s patent portfolio and that Defendant infringes the ’624 patent, among others. See id.

Accordingly, Defendant has had actual knowledge or has remained willfully blind regarding both

the existence and validity of the ’624 patent and Defendant’s infringement of the ’624 patent. See



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GlobalTech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind

defendant is one who takes deliberate actions to avoid confirming a high probability of

wrongdoing.”).

        163.    Defendant could not have reasonably or subjectively believed that its actions do

not constitute indirect infringement of the ’624 patent. Nor could Defendant reasonably or

subjectively believe that the ’624 patent is invalid. Despite that knowledge and subjective belief,

Defendant’s actions are egregious and beyond typical infringement. Defendant thus willfully

infringes the ’624 patent.

        164.    The infringing actions of Defendant have irreparably harmed ViaPath. Unless

these actions are enjoined by this Court, ViaPath will continue to suffer additional irreparable

injury. ViaPath has no adequate remedy at law.

        165.    The infringing actions of Defendant have damaged, and continue to damage,

ViaPath in an amount yet to be determined, of at least a reasonable royalty and/or lost profits that

ViaPath would have made but for Defendant’s infringing acts.

                              COUNT XV:
          CONTRIBUTORY INFRINGEMENT OF U.S. PATENT NO. 10,721,624

        166.    ViaPath re-alleges and incorporates by reference Paragraphs 1-165 above, as if

fully set forth herein.

        167.    Defendant is liable for indirect infringement by way of contributory infringement

of the ’624 patent pursuant to 35 U.S.C. § 271(c). Defendant has sold and continues to sell,

offers to sell, or imports into the United States products and services knowing that they are

especially made or adapted to operate in a way that infringes the ’624 patent and are not a staple

article or commodity of commerce suitable for substantial non-infringing use.




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       168.    Defendant has had actual knowledge of the ’624 patent since at least the filing of

the original Complaint in this action. Defendant has also had actual knowledge of the ’624 patent

since no later than April 20, 2023, the date on which Defendant received ViaPath’s Second

Notice Letter. See Exhibit 3. The Second Notice Letter alerted Defendant of the existence of

ViaPath’s patent portfolio and that Defendant infringes the ’624 patent, among others. See id.

Accordingly, Defendant has had actual knowledge or has remained willfully blind regarding both

the existence and validity of the ’624 patent and Defendant’s infringement of the ’624 patent. See

GlobalTech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769 (2011) (“[A] willfully blind

defendant is one who takes deliberate actions to avoid confirming a high probability of

wrongdoing.”).

       169.    Defendant markets its products to customers as “custom-built devices” used in

correctional facilities that “must prioritize connectivity while remaining digitally and physically

secure.” See Exhibit 22, 1. On information and belief, Defendant’s tablets as used within the

correctional facility systems have no substantial non-infringing uses. For example, on

information and belief, Defendant’s Inspire 3 Tablet as used within NCIC’s InTouch

Communications Suite has no substantial non-infringing uses. See Exhibit 14.

       170.    Defendant could not have reasonably or subjectively believed that its actions do

not constitute indirect infringement of the ’624 patent. Nor could Defendant reasonably or

subjectively believe that the ’624 patent is invalid. Despite that knowledge and subjective belief,

Defendant’s actions are egregious and beyond typical infringement. Defendant thus willfully

infringes the ’624 patent.




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       171.    The infringing actions of Defendant have irreparably harmed ViaPath. Unless

these actions are enjoined by this Court, ViaPath will continue to suffer additional irreparable

injury. ViaPath has no adequate remedy at law.

       172.    The infringing actions of Defendant have damaged, and continue to damage,

ViaPath in an amount yet to be determined, of at least a reasonable royalty and/or lost profits that

ViaPath would have made but for Defendant’s infringing acts.

                                 DEMAND FOR JURY TRIAL

       173.    ViaPath demands trial by jury on all claims and issues so triable.

                                     PRAYER FOR RELIEF

       174.    Wherefore, ViaPath respectfully requests that this Court enter judgment against

Defendant as follows:

               a.       That one or more claims of the ’443 patent have been infringed by

                        Defendant;

               b.       That Defendant’s infringement of the ’443 patent has been willful;

               c.       That one or more claims of the ’123 patent have been infringed by

                        Defendant;

               d.       That Defendant’s infringement of the ’123 patent has been willful;

               e.       That one or more claims of the ’292 patent have been infringed by

                        Defendant;

               f.       That Defendant’s infringement of the ’292 patent has been willful;

               g.       That one or more claims of the ’672 patent have been infringed by

                        Defendant;

               h.       That Defendant’s infringement of the ’672 patent has been willful;



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           i.    That one or more claims of the ’624 patent have been infringed by

                 Defendant;

           j.    That Defendant’s infringement of the ’624 patent has been willful;

           k.    An award of damages adequate to compensate ViaPath for the patent

                 infringements that have occurred, together with pre-judgment interest and

                 costs;

           l.    An accounting for acts of infringement not presented at trial and/or up to

                 the judgment and an award by the Court of additional damage for any such

                 acts of infringement;

           m.    A preliminary and permanent injunction against Defendant from further

                 infringement, or alternatively, award an ongoing royalty for Defendant’s

                 post-verdict infringement, payable on each product or service offered by

                 Defendant that is found to infringe one or more of the patents asserted

                 herein, and on all future products and services that are not colorably

                 different from those found to infringe;

           n.    An award of all other damages permitted by 35 U.S.C. § 284, including

                 increased damages up to three times the amount of compensatory damages

                 found;

           o.    A finding that this is an exceptional case and an award to ViaPath of its

                 costs and reasonable attorneys’ fees incurred in this action as provided by

                 35 U.S.C. § 285; and

           p.    Such other relief, including other monetary and equitable relief, as this

                 Court deems just and proper.



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Dated: May 22, 2023

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on May 22, 2023, a copy of the foregoing document

was served on the counsel listed below in the manner indicated:

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